This Court has jurisdiction to require a railroad company operating in this State to perform its public duties as a common carrier in accordance with its franchise obligations, when lawful authority of the Federal Congress in regulating interstate commerce is not interfered with. See State ex rel Ellis v. A. C. L. Railroad Company, 53 Fla. 650, 689, 44 So.2d 213, 223, 13 L. R. A. (N. S.) 320, 12 Ann. Cas. 359. While a "lawful order" of the Interstate Commerce Commission permitting a railroad company to dismantle the track of a branch line of an interstate railroad and to discontinue a depot at the terminal of such branch line, might be a defense to an alternative writ of mandamus commanding the restoration of the dismantled track and the discontinued depot, the administrative authority of the Interstate Commerce Commission in the premises does not affect the jurisdiction of this Court to enforce the public duty unless valid competent authority to so discontinue the public service is adduced in defense; and the validity of an administrative certificate of authority may be litigated and adjudicated subject to review by the Federal Supreme Court to secure uniformity of interstate regulations and the supremacy of the Federal authority. *Page 28 
The Federal Transportation Act provides that "no carrier by railroad subject to this Act shall abandon all or any portion of a line of railroad, or the operation thereof, unless and until there shall first have been obtained from the (Interstate Commerce) Commission a certificate that the present or future public convenience and necessity permit of such abandonment." This provision confers administrative authority upon the Interstate Commerce Commission, to grant or refuse authority to abandon a part of an interstate railroad. It does not expressly include restoration of dismantled railroad tracks. The Act further provides that "Any construction, operation, or abandonment contrary to the provisions of this paragraph or of paragraph (18) or (19) of this section may be enjoined by any court of competent jurisdiction at the suit of the United States, the Commission, any commission or regulating body of the State or States affected, or any party in interest." This provision relates to a permissible but not necessarily an exclusive preventive remedy for unlawful "construction, operation or abandonment," and does not exclude appropriate remedies for restoring railroad tracks that have been unlawfully disjointed and rendered useless for public transportation purposes. For such an unlawful destruction of a railroad track, the remedies afforded by law are applicable, and this is expressly recognized by the provision in the Federal Transportation Act which reads: "Provided, however, that nothing in this Act shall impair or affect the right of a State, in the exercise of its police power, to require just and reasonable freight and passenger service for intrastate business, except in so far as such requirement is inconsistent with any lawful order of the Commission made under the provisions of the Act."
The restoration of a dismantled track and of an abolished depot is not specifically provided for as an administrative *Page 29 
function. It therefore remains a subject of judicial power to be exercised consistently with the dominant Federal authority in the premises. Courts are not necessarily deprived of theirjudicial powers over a subject because an administrative determination in the premises is provided for by the statute. The courts may decline to apply mandamus or injunction when other adequate remedy is provided by law or until an authorized administrative determination in the premises is made. Uniformity of regulation of interstate railroad common carriers and the supremacy of the Federal authority within its sphere may be secured by appropriate judicial proceedings without preliminary administrative determinations, though the courts may defer judicial action pending authorized administrative determinations in matters where such a course will facilitate the administration of applicable law, particularly where exhaustive consideration of complicated facts and circumstances and statutory administrative discretion are involved. For example, cases involving rates of or unlawful discrimination by common carriers. Where, however, questions of law, and not voluminous facts or discretionary administrative functions are involved, the courts may act without administrative determinations. Ultimate review by the Federal Supreme Court secures uniformity of regulations and the supremacy of the authority of Congress.
Maintenance of the railroad track that has been dismantled and of the station agency that has been abolished, and of the service that has been rendered the public by the use of the track and station, constituted a part of the public service that was being performed by the respondent in Florida pursuant to franchises and privileges granted by the State; and the State has the right through its chief law officer and its railroad commissioners, who have official *Page 30 
functions with reference to the public service, to require by appropriate legal proceedings a restoration of the track and depot station and a continuance of the service heretofore rendered, unless the respondent duly shows a legal right to discontinue the public service. Mandamus is not excluded by other adequate remedy afforded by law. The relators are not improper parties.
A writ of mandamus, an appropriate proceeding brought by the State to compel a railroad common carrier to restore its track and depot and to continue the public service of a common carrier therewith, is not required to set out all matters that may show the dislocation of the track, the closing of the depot and the discontinuance of the public service to be not within the lawful rights of the respondent. Nor is the writ required to negative rights to discontinue the service that might be claimed by the respondent. See 38 C. J. 872; State ex rel Mayor, 22 Fla. 21.
An unlawful dislocation of the track and discontinuance of the depot and the public service being sufficiently alleged by the State as a predicate to the command of the writ to resume the service or to show cause for not doing so, it is incumbent upon the respondent to comply with the command of the writ, or to show by definite and sufficient averments, a legal defense to the writ. The alternative writ issued at the instance of the State by its proper officers sufficiently alleges a breach of public duty, and is not subject to the motion to quash. The respondent must perform the command of the writ, or by appropriate pleading show a legal right justifying the alleged breach of public duty.
The allegations of the alternative writ that respondent unlawfully and in violation of its duty to the State and to the public, and without the consent of the State Railroad Commissioners, dismantled the described track, etc., taken with the other allegations of the writ, sufficiently *Page 31 
allege a breach of a public duty and the right of the State to appropriate remedy. This does not preclude the respondent from averring by answer as a defense to the command to restore, if such be the fact, that it had authority to so discontinue the particular public service from the Interstate Commerce Commission, a superior authority in the premises, and that the consent of the State Railroad Commission is not necessary in the particular matter. If a statute permitted the dismantling and abandonment alleged or dispensed with the necessity for a permissive order from the State Railroad Commission, the Court could take judicial notice of the statute, and the alternative writ would be quashed; but if the respondent has permission from the Interstate Commerce Commission, the dominant authority, that is a fact peculiarly within the knowledge of the respondent that may be pleaded in defense of the writ, as it could plead a former adjudication of the same controversy by a court of competent jurisdiction.
The State is not required to negative in its alternative writ the existence of matters of fact that may be adduced as a defense to the writ.